Case 16-10121-BLS Doc19 Filed 02/22/16 Page 1 of 6

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 15
)
Eastern Continental Mining and )
Development Ltd., ) Case No.: 16-10121 (BLS)
)
Debtor. ) Re: Docket Nos. 2, 13

ORDER GRANTING RECOGNITION OF FOREIGN
MAIN PROCEEDING AND CERTAIN RELATED RELIEF

This matter coming before the Court on the chapter 15 petition and the Verified Petition
of Ninos Koumettou, as Foreign Representative of Eastern Continental Mining and Development
Ltd., for (I) Recognition of Foreign Main Proceeding and (II) Certain Related Relief

(collectively, the “Petition”) of petitioner, Ninos Koumettou, the duly authorized foreign

 

representative (the “Foreign Representative”) of Eastern Continental Mining and Development
(the “Debtor”), in the proceeding (the “UK Proceeding”) commenced under the United
Kingdom’s Insolvency Rules 1986 and the Court having reviewed the Petition, and having
considered the statements of counsel with respect to the Petition at a hearing before the Court
(the “Hearing”); and appropriate and timely notice of the filing of the Petition and the Hearing
having been given; and no other or further notice being necessary or required; and the Court
having determined that the legal and factual bases set forth in the Petition and all other pleadings
and proceedings in this case establish just cause to grant the relief ordered herein, and after due
deliberation therefore,

THE COURT HEREBY FINDS AND DETERMINES THAT:

A. The findings and conclusions set forth herein constitute the Court’s

findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to

 
Case 16-10121-BLS Doc19 Filed 02/22/16 Page 2 of 6

this proceeding pursuant to Bankruptcy Rule 9014. To the extent any of the following findings of
fact constitute conclusions of law, they are adopted as such. To the extent any of the following
conclusions of law constitute findings of fact, they are adopted as such.

B. This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.
§§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(P). Venue for this
proceeding is proper before this Court pursuant to 28 U.S.C. § 1410.

C. The Foreign Representative is the duly appointed “foreign representative”
of the Debtor within the meaning of section 101(24) of the Bankruptcy Code.

D. This chapter 15 case was properly commenced pursuant to sections 1504,
1509, and 1515 of the Bankruptcy Code.

E, The Foreign Representative has satisfied the requirements of section 1515
of the Bankruptcy Code and Rule 2002(q) of the Federal Rules of Bankruptcy Procedure.

F, The UK Proceeding is a “foreign proceeding” pursuant to section 101(23)
of the Bankruptcy Code.

G. The UK Proceeding is entitled to recognition by this Court pursuant to
section 1517 of the Bankruptcy Code.

H. England is the center of main interests of the Debtor, and accordingly the
UK Proceeding is a “foreign main proceeding” as defined in section 1502(4) of the Bankruptcy
Code, and is entitled to recognition as a foreign main proceeding pursuant to section 1517(b)(1)
of the Bankruptcy Code.

I. The Debtor and Foreign Representative are entitled to all the automatic
relief available pursuant to section 1520 of the Bankruptcy Code without limitation.

J. The Debtor and Foreign Representative are further entitled to the
Case 16-10121-BLS Doc19 Filed 02/22/16 Page 3 of 6

discretionary relief expressly set forth in section 1521(a) and (b) of the Bankruptcy Code.

K. The relief granted herein is necessary and appropriate, in the interests of
the public and international comity, consistent with the public policy of the United States, and
warranted pursuant to sections 1517, 1520 and 1521 of the Bankruptcy Code.

NOW, THEREFORE, THE COURT HEREBY ORDERS, ADJUDGES, AND

DECREES AS FOLLOWS:
1, The Petition is granted.
2. The UK Proceeding is granted recognition as a foreign main proceeding pursuant

to section 1517 of the Bankruptcy Code and given full force and effect in the United States.

3. All relief afforded foreign main proceedings pursuant to section 1520 of the
Bankruptcy Code is hereby granted to the UK Proceeding.

4, Sections 361 and 362 of the Bankruptcy Code shall hereby apply with respect to
the Debtor and the property of the Debtor that is within the territorial jurisdiction of the United
States.

5. Pursuant to section 1521(a)(6), all prior relief granted to the Debtor or the Foreign
Representative by this Court pursuant to section 1519(a) of the Bankruptcy Code shall be
extended and shall remain in full force and effect, notwithstanding anything to the contrary
contained therein.

6. All entities (as that term is defined in section 101(15) of the Bankruptcy Code),
other than the Foreign Representative and its expressly authorized representatives and agents, are
hereby enjoined from:

a. execution against any of the Debtor’s assets;

b. the commencement or continuation, including the issuance or

 
 

Case 16-10121-BLS Doc19 Filed 02/22/16 Page 4 of 6

employment of process, of a judicial, administrative, arbitral, or
other action or proceeding, or to recover a claim, which in either
case is in any way related to, or would interfere with, the
administration of the Debtor’s estate in the UK Proceeding or the
solicitation, implementation or consummation of the transactions
contemplated by the Initial Order, including without limitation any
and all unpaid judgments, settlements or otherwise against the
Debtor in the United States;

c. taking or continuing any act to create, perfect or enforce a lien or
other security interest, set-off or other claim against the Debtor or
any of its property;

d. transferring, relinquishing or disposing of any property of the
Debtor to any entity (as that term is defined in section 101 (15) of
the Bankruptcy Code) other than the Foreign Representative; and

e. commencing or continuing an individual action or proceeding
concerning the Debtor’s assets, rights, obligations or liabilities to
the extent they have not been stayed under section 1520(a);

provided, however, in each case, such injunction shall be effective solely within the territorial
jurisdiction of the United States.

7. Notwithstanding anything to the contrary contained herein, this Order shall not be
construed as (a) enjoining the police or regulatory act of a governmental unit, including a
criminal action or proceeding, or (b) staying the exercise of any rights that are not subject to stay

arising under section 362(a).

 
 

Case 16-10121-BLS Doc19 Filed 02/22/16 Page 5of 6

8. The Foreign Representative is hereby authorized to apply to this Court to examine
witnesses, take evidence, seek production of documents, and deliver information concerning the
assets, affairs, rights, obligations or liabilities of the Debtor, as such information is required in
the UK Proceeding under the law of the United States.

9. The Foreign Representative, the Debtor and/or each of their successors, agents,
representatives, advisors or counsel shall be entitled to the protections contained in sections 306
and 1510 of the Bankruptcy Code.

10. Notwithstanding any provision in the Bankruptcy Rules to the contrary: (a) this
Order shall be effective immediately and enforceable upon entry; (b) the Foreign Representative
is not subject to any stay in the implementation, enforcement or realization of the relief granted
in this Order; and (c) the Foreign Representative is authorized and empowered, and may in its
discretion and without further delay, take any action and perform any act necessary to implement
and effectuate the terms of this Order.

11. A copy of this Order, conformed to be true and correct, shall be served, within
three (3) business days of entry of this Order, by facsimile, electronic mail or overnight express
delivery, upon all persons or bodies authorized to administer foreign proceedings of the Debtor,
all entities against whom provisional relief was granted under section 1519 of the Bankruptcy
Code, all parties to litigation pending in the United States the Debtor was a party at the time of
the filing of the Petition, the United States Trustee and such other entities as the Court may

direct. Such service shall be good and sufficient service and adequate notice for present

purposes.

 
 

Case 16-10121-BLS Doc19 Filed 02/22/16 Page 6 of 6

12. This Court shall retain jurisdiction with respect to: (i) the enforcement,
amendment or modification of this Order; (ii) any requests for additional relief or any adversary
proceeding brought in and through this chapter 15 case; and (iii) any request by an entity for

relief from the provisions of this Order, for cause shown.

 

Dated: Cl LL 2016

~~
The onorabl&Bréndan . Shghnon
Unwed States Bankruptcy Judge
